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THOMAS E. MONTGOMERY, County Counsel

County of San Diego
BY CHRISTOPHE

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Attorneys for Defendants County of San Diego, Dr. Alfred Joshua,
Nurse Jaime Preechar, Deputy Luis Escobar and Deputy Sean Dwyer

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA

MICHELLE MORIARTY, an individual, as
Successor in Interest to the Estate of HERON
MORIARTY and as Guardian Ad Litem to
ALEXANDRIA MORIARTY, ELIJAH
MORIARTY, and ETERNITY MORIARTY,

Plaintiffs,

Vv.

 

No. 17cv1154-LAB(AGS)

DECLARATION OF ALFRED JOSHUA,
M.D. INSUPPORT OF MOTION FOR
SUMMARY JUDGMENT

{Filed concurrently with the Notice of
otion; Memorandum of Points and
Authorities; and Joint Statement of

Undisputed Facts]
COUNTY OF SAN DIEGO,
DR. ALFRED JOSHUA, individually, Date: April 8, 2019
and DOES 1 through 10, Inclusive, Time: 11:15 a.m.
Courtroom: 14A
Defendants. Honorable Larry A. Burns
ORAL ARGUMENT REQUESTED
Trial Date: None
I, Alfred Joshua, M.D, declare, if sworn as a witness, I could competently testify as
follows:
1. I am a licensed Physician and Surgeon in the State of California, board

certified in Emergency Medicine. I completed a two-year fellowship in Hospital

Administration at U.C. San Diego. I also earned a Master of Business Administration

degree from the University of California, Irvine. I am a Certified Correctional Health

Professional, certified by the National Commission of Correctional Healthcare.

 

17cv1154-LAB(AGS)
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2.  -From 2013 until 2018, I was Chief Medical Officer for the San Diego
County Sheriff's Medical Services Division, which administered medical and mental
health services at seven detention facilities, including the Vista Detention Facility and
Central Jail. In that administrative position, I exercised discretion and considered the

risks and benefits of policies related to jail suicides.

3. I had no physician-patient relationship with Heron Moriarty at any time.

4. I had no contact or communication with Heron Moriarty at any time.

5. The Central Jail “Pilot Program” referred to at paragraphs 10 and 12 of the
First Amended Complaint was created in April, 2016. The “Pilot Program” did not
change procedure related to booking suicidal inmates at the Vista Detention Facility.

I declare under penalty of perjury under the laws of the United States that the
foregoing is true and correct. This declaration was executed this (v day of February,

2019, at San Diego California.

CZ Kk mb

Alfred Joshua, M.D, SBA, CCHP-P, FAAEM

 

 

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